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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 CONNIE TSOUMANIS,             )
                               )                    Civil Action
    Plaintiff,                 )                    No.
                               )
 v.                            )
                               )
 REDI-CARPET SALES OF GEORGIA, )                    JURY TRIAL DEMANDED
 LLC,                          )
                               )
    Defendant.                 )


                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff Connie Tsoumanis (“Plaintiff”), by and through

undersigned counsel, and files this Complaint for Damages against Defendant Redi-

Carpet Sales of Georgia, LLC (“Defendant”), and shows the Court as follows:

                          NATURE OF COMPLAINT

                                           1.

      Plaintiff brings this action for retaliation under Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e, et. seq.




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                                   JURISDICTION

                                            2.

      Plaintiff invokes the jurisdiction of this Court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).

                                        VENUE

                                             3.

      The unlawful employment practices alleged in this Complaint were committed

within this district. Thus, venue is appropriate in this Court.

                                       PARTIES

                                             4.

      Plaintiff is a Georgia resident and subject to jurisdiction in this Court.

                                             5.

      At all times relevant to this action, Defendant has been doing business within

this district. Defendant is subject to specific jurisdiction in this Court over the claims

asserted herein.

                                             6.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, Corporation Service Company, 2 Sun Court,

Suite 400, Peachtree Corners, Georgia 30092.

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                      ADMINISTRATIVE PROCEDURES

                                          7.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”).

                                          8.

      Upon Plaintiff’s request, on August 3, 2021, the EEOC issued Plaintiff a

Notice of Right to Sue with respect to Plaintiff’s EEOC Charge, entitling an action

to be commenced within ninety (90) days of receipt of that notice.

                                          9.

      This action has been commenced within ninety (90) days of receipt of the

“Notice of Right to Sue”.

                            FACTUAL ALLEGATIONS

                                          10.

      Plaintiff began working for Defendant on March 9, 2020, as General Manager

for Defendant’s Atlanta location.

                                          11.

      On April 26, 2021, Curt Graulich, Defendant’s Vice President, notified

Plaintiff that she was receiving disciplinary action in the form of a “Personal Action

Summary.”

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                                          12.

      On May 10, 2021, Mr. Graulich physically gave Plaintiff an “Employee

Counseling Form,” codifying the Personal Action Summary. The reason noted for

the counseling was unsatisfactory work performance.

                                          13.

      Plaintiff responded to the counseling form on or about May 11, 2021, in a

bullet point writing directed to Mr. Graulich. In this writing, Plaintiff pointed out

that the company was male dominated and women were not respected.

                                          14.

      Plaintiff told Mr. Graulich in her response that, as a woman in a male-

dominated industry, she felt that her voice was not heard and that her decisions and

ideas were dismissed. Plaintiff further explained that she was questioned on every

decision made and believed this was because she is a woman.

                                          15.

      Prior to providing her response to the counseling form, Plaintiff had simply

been giving a coaching.

                                          16.

      Following Plaintiff’s written complaint, Mr. Graulich told Plaintiff that

Harvey Rosenberg, Senior Vice President and Mike Mosely, Executive Vice

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President, were angry about Paragraph 9 of her response, which constituted

Plaintiff’s protected complaint of gender discrimination.

                                             17.

        Mr. Rosenberg flew to Plaintiff’s office the following week and terminated

her employment. Defendant has set Plaintiff’s work end date for the end of August

2021.

                                             18.

        Any reason provided for terminating Plaintiff’s employment is pretext for

unlawful retaliation against Plaintiff because of her protected activity.

                                             19.

        Defendant retaliated against Plaintiff in violation of Title VII of the Civil

Rights Act of 1964.

                                             20.

        Plaintiff has suffered lost wages and emotional distress as a direct result of

Defendant’s unlawful actions.

  COUNT I: RETALIATION VIOLATION OF TITLE VII OF THE CIVIL
                     RIGHTS ACT OF 1964

                                             21.

        Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.


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                                          22.

      Plaintiff’s complaints and opposition to gender discrimination constitute

protected activity under Title VII.

                                          23.

      Defendant subjected Plaintiff to adverse action by terminating Plaintiff

because of her protected conduct. The adverse action to which Plaintiff was

subjected would dissuade a reasonable employee from making or supporting a

charge of discrimination.

                                          24.

      There was a causal connection between the protected conduct and the adverse

actions against Plaintiff.

                                          25.

      As a direct and proximate result of Defendant’s violations, Plaintiff has

suffered economic and non-pecuniary damages.

                                          26.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

actions toward Plaintiff were undertaken in bad faith.




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                                            27.

       Plaintiff is entitled to punitive damages, lost wages and benefits,

compensatory damages, attorneys’ fees and costs, prejudgment interest,

reinstatement or front pay in lieu thereof, and any other relief available under the

law.

       WHEREFORE, Plaintiff prays the court for judgment and relief as follows:

       (a)         That judgment be entered against Defendant on all claims;

       (b)         That general damages be awarded for mental and emotional

                   suffering;

       (c)         Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and    deliberate   acts,   including   ratification,

                   condonation and approval of said acts;

       (d)         Lost wages and other economic damages;

       (e)         Reasonable attorney's fees and expenses of litigation;

       (f)         Trial by jury as to all issues;

       (g)         Prejudgment interest at the rate allowed by law;

       (h)         Declaratory relief to the effect that Defendant has violated

                   Plaintiff's statutory rights;




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     (i)         Injunctive relief prohibiting Defendant from further unlawful

                 conduct of the type described herein; and

     (j)         All other relief to which she may be entitled.

     This 10th day of August, 2021.

                                                  BARRETT & FARAHANY

                                                  /s/ V. Severin Roberts
                                                  V. Severin Roberts
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